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                                                                           LAURO & SINGER
                                                                                          FLORIDA  NEW YORK
              FLORIDA
      400 N. Tampa Street
                              VIA ELECTRONIC FILING (CM/ECF)
                 15th Floor
     Tampa, Florida 33602     July 12, 2023
          P. 813.222.8990
          F. 813.222.8991
                              Hon. Andrew L. Carter, Jr.
      1101 Brickell Avenue    United States District Court
     South Tower, 8th Floor   Southern District of New York
          Miami, FL 33131     40 Foley Square, Room 435
          P. 813.222.8990     New York, NY 10007
           NEW YORK
                                RE: Doe v. Jackson et al., Case No. 1:23-CV-04910 (ALC)
        250 E. 53rd Street
               Suite 1701
New York, New York 10022      Dear Judge Carter:
          P. 646.746.8659
                              We represent defendant Joshua Jackson in connection with the above-referenced
                              matter. Pursuant to Your Honor’s Individual Practice 2.B., we respectfully
WWW . LAUROSINGER . COM       request permission to submit a two-page letter-sur-reply to plaintiff’s Reply
                              Memorandum of Law in Support of Plaintiff’s Motion to Proceed Anonymously.
                              (ECF No. 21). Our sur-reply would address the issues that plaintiff improperly
                              raises for the first time on reply, as well as her factual inaccuracies.

                              On June 19, 2023, plaintiff moved for leave to file her case under seal or to
                              proceed pseudonymously. (ECF Nos. 13-14). Pursuant to Your Honor’s order
                              (ECF No. 15), we filed our opposition memorandum on June 28. (ECF No. 19).
                              Your Honor then directed plaintiff to file her reply by July 7. (ECF No. 20).
                              Plaintiff complied. (ECF Nos. 21-23).

                              However, plaintiff’s reply improperly raises new arguments and evidence. U.S.
                              ex rel. Karlin v. Noble Jewelry Holdings Ltd., 2012 WL 1228199, at *4 (S.D.N.Y.
                              Apr. 9, 2012) (“Arguments may not be made for the first time in a reply brief.”
                              (quoting Knipe v. Skinner, 999 F.2d 708, 711 (2d Cir.1993))). Our sur-reply
                              would address each of the new issues, including: (1) her request for alternate
                              relief; (2) her false and inflammatory claims about Jackson’s propensity for
                              “violence against female victims,” Reply at 2; (3) the substance of her untimely
                              testimony and evidence; (4) her ongoing failure to keep her identity confidential;
                              and (5) her counsel’s mischaracterization of correspondence to the undersigned.

                              We believe it is critically important that Your Honor is fully apprised of these
                              issues before ruling on plaintiff’s request to proceed anonymously.

                              Respectfully submitted,




                              John F. Lauro

                              cc:       Counsel of Record (via CM/ECF)
